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            Case 23-04789 DocMAINSTREET
                              40-2 Filed 09/28/23   Entered 09/28/23
                                             ORGANIZATION            17:19:04
                                                            OF REALTORS    ®  Desc Exhibit
                                 2 - Listing Agreement Page  1 of 6
                    RESIDENTIAL EXCLUSIVE RIGHT TO SELL MARKETING AGREEMENT

    1    Infiniti Properties Inc                                                       Galeb Mizyed
    2    BROKERAGE (Print Listing Office Name)                                         SELLER NAME (Print)
    3    Mark mcGee
    4    MANAGING BROKER NAME (Print)                                                  SELLER NAME (Print)
    5    Ghalia AbuArab
    6    DESIGNATED AGENT NAME (Print)
   7     Seller represents and warrants that title to the property is in the name of: Galeb Mizyed
   8     and Seller has the authority to sell the Property.
   9     1. Property: This Agreement is between the above-mentioned Brokerage and Seller, in consideration of their acceptance of the
  10     terms hereof and, efforts of Brokerage’s to advertise, market, promote, and sell the real estate commonly known as:
  11     Address: 13890 Creek Crossing Dr                                                                                           ,
  12     Unit No: -----                                                     , City: Orland Park                                     ,
  13     County: Cook                                                       , State: IL                           , Zip Code: 60467 ,
  14     Permanent Index No.: 07-06-206-0000                                , hereinafter referred to as “Property.”
  15     If Designated Parking is Included: # of space(s)             ; identified as space(s) #             ; location
  16     [CHECK TYPE]  deeded space, PIN: ________________________  limited common element  assigned space.
  17     If Designated Storage is Included: # of space(s)             ; identified as space(s) #             ; location
  18     [CHECK TYPE]  deeded space, PIN: ________________________  limited common element  assigned space.
  19     2. Term and Conditions: The term of this Agreement begins 12:01 A.M. Month: July                                          Day: 10th
  20     Year: 2023             and terminates 11:59 P.M. Month: January                             Day: 10th                 Year: 2024
  21     (“marketing period”). Seller gives Brokerage the exclusive right to market, sell, option, or exchange the Property to qualified
  22     purchasers and to share the Property with participants in the Midwest Real Estate Database, LLC, and/or any other Multiple Listing
  23     Service in which Managing Broker is a participant, in accordance with the applicable rules and regulations of that Multiple Listing Service.
  24     (_____/_____) THE PARTIES UNDERSTAND AND AGREE THAT IT IS ILLEGAL FOR EITHER OF THEM TO
  25      [SELLER(S) INITIALS] DISCRIMINATE AGAINST ANY PROSPECTIVE BUYER OR LESSEE ON THE BASIS OF RACE,
  26     AGE, COLOR, RELIGION, SEX, ANCESTRY, ORDER OF PROTECTION STATUS, GENDER IDENTITY, MARITAL
  27     STATUS, PHYSICAL OR MENTAL HANDICAP, FAMILIAL STATUS, NATIONAL ORIGIN, SEXUAL
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                                   In Process
         ORIENTATION, MILITARY STATUS, DISHONORABLE DISCHARGE FROM THE MILITARY SERVICE, OR ANY
         OTHER CLASS PROTECTED BY THE ILLINOIS HUMAN RIGHTS ACT. THE PARTIES AGREE TO COMPLY
         WITH ALL APPLICABLE FEDERAL, STATE, AND LOCAL FAIR HOUSING LAWS.
         3. Marketing Price: The price shall be $ 995,000                  $1,079,000
  32     4. Possession: Possession is to be negotiated at time of sales contract.
  33     5. Fixtures and Personal Property: All of the fixtures and personal property stated herein are owned by Seller and, to the best of
  34     Seller’s knowledge, are in operating condition unless otherwise noted. Seller agrees to transfer to buyer all fixtures, all heating,
  35     electrical, and plumbing systems together with the following items of personal property by Bill of Sale (Check or enumerate applicable items):
  36     __ Refrigerator              __ Wine/Beverage Refrigerator          __ Light Fixtures, as they exist             __ Fireplace Gas Log(s)
  37     __ Oven/Range/Stove          __ Sump Pump(s)                        __ Built-in or attached shelving             __ Smoke Detectors
  38     __ Microwave                 __ Water Softener (unless rented)      __ All Window Treatments & Hardware          __ Carbon Monoxide Detectors
  39     __ Dishwasher                __ Central Air Conditioning            __ Satellite Dish                            __ Invisible Fence System, Collar & Box
  40     __ Garbage Disposal          __ Central Humidifier                  __ Wall Mounted Brackets (AV/TV)             __ Garage Door Opener(s)
  41     __ Trash Compactor           __ Central Vac & Equipment             __ Security System(s) (unless rented)           with all Transmitters
  42     __ Washer                    __ All Tacked Down Carpeting           __ Intercom System                           __ Outdoor Shed
  43     __ Dryer                     __ Existing Storms & Screens           __ Electronic or Media Air Filter(s)         __ Outdoor Playset(s)
  44     __ Attached Gas Grill        __ Window Air Conditioner(s)           __ Backup Generator System                   __ Planted Vegetation
  45     __ Water Heater              __ Ceiling Fan(s)                      __ Fireplace Screens/Doors/Grates            __ Hardscape
  46     Other items included:
  47     Items NOT included:
  48     Unless otherwise agreed to in writing by Seller and Buyer, Seller shall warrant to Buyer that all fixtures, systems and personal
  49     property included in this Agreement shall be in operating condition at possession, except:
  50                                                             . A system or item shall be deemed to be in operating condition if it performs
  51     the function for which it is intended, regardless of age, and does not constitute a threat to health or safety.
  52     6. Home Warranty: Seller shall agree to provide to Buyer a limited home warranty program from
  53                                                            at a charge of $                         . Seller acknowledges that a home
  54     warranty program is a limited warranty with a deductible. (STRIKE THROUGH IF NOT OFFERED.)
  55     7. Seller’s Designated Agent(s): Managing Broker designates and Seller accepts: Ghalia AbuArab
  56     (“Seller’s Designated Agent(s)”), a licensee affiliated with Managing Broker, as the only legal agent of Seller to market and sell
  57     Seller’s Property. Managing Broker reserves the right to appoint additional designated agents for Seller when, in Managing Broker’s

                Managing Broker Initial                                                                              Seller Initial         Seller Initial
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  58         Case it23-04789
         discretion,   is necessary. IfDoc   40-2designated
                                        additional     Filed 09/28/23          Entered
                                                              agents are appointed,        09/28/23
                                                                                       Seller            17:19:04
                                                                                              shall be informed          Desc
                                                                                                                 in writing     Exhibit
                                                                                                                            within a reasonable time
  59                                               2 - Listing   Agreement           Page     2 of  6
         of such appointment. Seller authorizes Seller’s Designated Agent(s), from time to time, to allow another licensee, who is not an
  60     agent of the Seller, to conduct an open house of Seller’s Property or provide similar support to Designated Agent(s) in the marketing
  61     of Seller’s Property. Seller understands and agrees that this Agreement is a contract for Brokerage to market and sell Seller’s Property
  62     and that Seller’s Designated Agent(s) is the only legal agent of Seller. Seller’s Designated Agent(s) will be primarily responsible for
  63     the direct marketing and sale of Seller’s Property. The duties owed to Seller as referred in the Illinois Real Estate License Act of
  64     2000, as amended, will only be owed to Seller by the Designated Agent(s). The Managing Broker and the Designated Agent(s) will
  65     have only those duties to the Seller as are required by statute.
  66     8. Possible Dual Agency: The above named Designated Agent(s) (hereinafter sometimes referred to as “Licensee”) may undertake
  67     a dual representation (represent both the seller or landlord and the buyer or tenant) for the sale or lease of the Property. Seller
  68     acknowledges he was informed of the possibility of this type of representation. Before signing this document, Seller must read the following:
  69     Representing more than one party to a transaction presents a conflict of interest, since both clients may rely upon Licensee’s advice
  70     and the clients’ respective interests may be adverse to each other. Licensee will undertake this representation only with the written
  71     consent of ALL clients in the transaction. Any agreement between the clients as to a final contract price and other terms is a result
  72     of negotiations between the clients acting in their own best interests and on their own behalf. Seller acknowledges that Licensee has
  73     explained the implications of dual representation, including the risks involved, and understands that he has been advised to seek
  74     independent advice from advisors or attorneys before signing any documents in this transaction.
  75     WHAT A LICENSEE CAN DO FOR CLIENTS WHEN ACTING AS A DUAL AGENT:
  76          1. Treat all clients honestly.
  77          2. Provide information about the Property to the buyer or tenant.
  78          3. Disclose all latent material defects in the Property that are known to Licensee.
  79          4. Disclose financial qualification of the buyer or tenant to the Seller or landlord.
  80          5. Explain real estate terms.
  81          6. Help the buyer or tenant to arrange for Property inspections.
  82          7. Explain closing costs and procedures.
  83          8. Help the buyer compare financing alternatives.
  84          9. Provide information about comparable properties that have sold so both clients may make educated decisions on what price
  85               to accept or offer.
  86     WHAT A LICENSEE CANNOT DISCLOSE TO CLIENTS WHEN ACTING AS A DUAL AGENT:
  87          1. Confidential information that Licensee may know about the clients, without the client’s permission.
  88          2. The price or terms the seller or landlord will take other than the listing price without permission of the seller or landlord.
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                                   In Process
              3. The price or terms the buyer or tenant is willing to pay without permission of the buyer or tenant.
              4. A recommended or suggested price or terms the buyer or tenant should offer.
              5. A recommended or suggested price or terms the seller or landlord should counter with or accept.
         If Seller is uncomfortable with this disclosure and dual representation, please let Licensee know. Seller is not required to
  93     accept this section unless Seller wants to allow the Licensee to proceed as a Dual Agent in this transaction.

  94      
  95     Yes        No
  96     (____/____) [SELLER(S) INITIALS]
  97     By checking “Yes” and initialing, Seller acknowledges that Seller has read and understands this section and voluntarily consents to
  98     the Licensee acting as a Dual Agent (that is, to representing BOTH the Seller or landlord and the buyer or tenant) should that become necessary.
  99     9. Representation of Buyers: Seller acknowledges that Seller has been informed and understands that as part of Brokerage’s real
 100     estate business, Brokerage, from time to time, enters into representation agreements with buyers, and, as such, may designate certain
 101     of its licensees as exclusive buyers’ representatives for the purpose of showing and negotiating the purchase of real estate listed with
 102     Brokerage or other real estate brokerage firms.
 103     10. Buyer Confidentiality: Seller understands that Brokerage, Managing Broker and/or Designated Agent(s) may have previously
 104     represented a buyer who is interested in Seller’s Property. During that representation, Managing Broker and/or Designated Agent(s)
 105     may have learned material information about the Buyer that is considered confidential. Under the law, neither Managing Broker nor
 106     Designated Agent(s) may disclose any such confidential information to Seller even though the Managing Broker and/or Designated
 107     Agent(s) now represent the Seller.
 108     11. Managing Broker’s Affiliates: Seller understands and agrees that other licensees affiliated with Brokerage, may represent the
 109     actual or prospective buyer of Seller’s Property. Further, Seller understands and agrees that if the Property is sold through the efforts
 110     of a licensee affiliated with Brokerage that represents the buyer, the other licensee affiliated with Brokerage will be acting as a
 111     buyer’s representative.
 112     12. Consent to Represent Other Sellers: Seller understands and agrees that Brokerage, Managing Broker and Designated Agent(s)
 113     may from time to time represent or assist other sellers who may be interested in selling their property to buyers. The Seller consents
 114     to Brokerage, Managing Broker’s and Designated Agent’s(s’) representation of such other sellers before, during, and after the
 115     expiration of this Exclusive Marketing Agreement and expressly waives any claims including but not limited to breach of duty or
 116     breach of contract based solely upon Brokerage, Managing Broker’s or Designated Agent’s(s’) representation or assistance of other
 117     sellers who may be interested in selling their property to buyers.
                Managing Broker Initial                                                                           Seller Initial       Seller Initial
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 118     13. Case     23-04789
              Brokerage   Fee: ExceptDoc      40-2 hereafter,
                                         as provided     Filed 09/28/23          Entered
                                                                   in consideration          09/28/23
                                                                                    of the obligations    17:19:04
                                                                                                       of the Brokerage, Desc     Exhibit
                                                                                                                         the Seller agrees:
 119                                                2  - Listing    Agreement          Page    3 of  6
         a) To pay Brokerage, at the time of closing of the sale of the property, or the initial closing of an installment contract for deed, and
 120        from the disbursement of the proceeds of said sale, compensation in the amount of, for Brokerage’s services, $ ----------
 121        and/or 5 4%            % of the sale price in effecting the sale by finding a Buyer ready, willing, and able to purchase the property.
 122        In the event that a cooperating brokerage is involved in the transaction, the commission shall be distributed 2.5 2 % plus
 123        $ 395                  of the sales price to the listing brokerage and 2.5 2 % minus $ 395                        of the sales price to the
 124        cooperating brokerage. If the transaction shall not be closed because of refusal, failure, or inability of the Seller to perform, the
 125        Seller shall pay the sales commission in full to Brokerage upon demand. Should a sale be in pending or contingent status at the
 126        expiration of this Agreement, Seller shall pay Brokerage the full commission set forth upon closing of said sale.
 127     b) To pay Brokerage the commission specified above if Brokerage procures a buyer, if the Property is sold within said time by Seller
 128        or any other person, or if the property is sold within 180 days from the expiration date herein to any prospect to whom the said
 129        listing information was submitted during the term of this exclusive agreement. However, Seller shall not be obligated to pay said
 130        commission if a valid, written listing agreement is entered into during the term of said protection period with another brokerage
 131        and the sale of the Property is made during the term of the subsequent listing agreement.
 132     Special Compensation Information:
 133     14. Cooperation and Compensation: Brokerage is authorized to show the Property to prospective buyers through cooperating
 134     brokers; and Brokerage, on a case-by-case basis, may pay a part of its brokerage commission to cooperating brokerages. Brokerage
 135     is authorized, in its sole discretion, to determine with which brokerages it will cooperate and the amount of compensation that it will
 136     offer cooperating brokerages in the sale of Seller’s Property. Seller acknowledges that the compensation offered to such cooperating
 137     brokerages may vary from brokerage to brokerage.
 138     15. Office Website Policy: Brokerage operates a Virtual Office Website (“VOW”) and/or Broker Reciprocity Internet Data
 139     Exchange (“IDX”) for the purpose of marketing properties to consumers on the Internet who have established a brokerage-consumer
 140     relationship, as defined by Illinois Real Estate License Act of 2000, as amended, giving the consumer the opportunity to search for
 141     active and closed listing data, subject to Brokerage’s oversight, supervision and accountability. The VOW Policy states that a VOW
 142     shall not display listings or property addresses of any seller who has affirmatively directed the brokerage to withhold the seller’s
 143     listing or property address from display on the Internet. A VOW may allow third parties to write comments or reviews about
 144     particular listings or display a hyperlink to such comments or review in immediate conjunction with particular listings or display an
 145     automated estimate of the market value of the listing (or hyperlink to such estimate) in immediate conjunction with the listing. The
 146     Policy allows the Brokerage to disable or discontinue, at Seller’s request, either or both of the aforementioned VOW features (display
 147     of listing and display of listing address and ability to make comments or display estimate of market value).
 148     WITH REGARD TO THE VOW POLICY, SELLER HEREBY DIRECTS BROKERAGE AS FOLLOWS (Initial that apply):
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                                      In Process
         (____/____) [SELLER(S) INITIALS] I do NOT want the Property listing to be displayed on the Internet.
         (____/____) [SELLER(S) INITIALS] I do NOT want the Property address to be displayed on the Internet.
         (____/____) [SELLER(S) INITIALS] I do NOT give permission for comments or reviews on my listing.
 152     (____/____) [SELLER(S) INITIALS] I do NOT want any automated estimate of value on my listing.
 153     Seller acknowledges that Seller has read and understands the options presented above and that, if Seller has selected the first option,
 154     consumers who conduct searches for listings on the Internet will not see information about Seller’s Property in response to their search.
 155     16. Title Insurance and Survey: Seller acknowledges that Seller has not added to nor disposed of any part of the Property, or
 156     gained any easements in favor of or against the Property not disclosed in the Title Guaranty Policy except as stated herein. Prior to
 157     closing, Seller agrees to furnish at Seller’s expense a title insurance commitment for an Owner’s Title Insurance Policy in the amount
 158     of the sale price, showing good title in the owner’s name. After a sales contract has been signed, arrangements must be made to
 159     secure title insurance and schedule the closing. Seller understands that Seller is not required to use any particular title insurance
 160     company and that Seller or Seller’s attorney may select any qualified licensed company for Seller’s title insurance needs. Not less
 161     than one (1) business day prior to closing, except where the subject property is a condominium, Seller may be required, at Seller’s
 162     expense, to furnish a Plat of Survey dated not more than six (6) months prior to the date of closing, prepared by an Illinois registered
 163     land surveyor, showing any encroachments, measurements of all lot lines, all easements of record, building set-back lines of record,
 164     fences, all building and other improvements on the real estate and distances therefrom to the nearest two lot lines. In addition, the
 165     survey to be provided shall be a boundary survey conforming to the requirements of the Illinois Department of Financial and
 166     Professional Regulation found at 68 Ill. Adm. Code, Sec. 170.56. The survey shall show all corners staked and flagged or otherwise
 167     monumented. The survey shall have the following statement prominently appearing near the professional land surveyor seal and
 168     signature: “This professional service conforms to the current Illinois minimum standards for a boundary survey. A Mortgage
 169     Inspection, as defined, is not a boundary survey, and does not satisfy the necessary requirements.”
 170     With regard to the issuance of title insurance:
 171      (____/____) [SELLER(S) INITIALS] Seller authorizes Brokerage to order title insurance and related services on Seller’s behalf through
 172                                                   , an affiliate of Brokerage, for the estimated charges as disclosed in the Federal and State
 173     Disclosure Statements provided Seller by Brokerage.
 174      (____/____) [SELLER(S) INITIALS] Seller directs that                                 provide the title insurance and related services as stated above.
 175      (____/____) [     SELLER(S) INITIALS]   Seller or Seller’s attorney will make the necessary arrangements for title insurance and any related services.


                Managing Broker Initial                                                                                     Seller Initial       Seller Initial
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 176     17. Case     23-04789
              Disclosure:   All inquiriesDoc  40-2
                                           about        Filed 09/28/23
                                                 this Property  made directly to Entered      09/28/23
                                                                                    Seller shall            17:19:04
                                                                                                 be immediately    referred toDesc     Exhibit
                                                                                                                                 Managing   Broker and/or
 177                                                2 - Listing    Agreement           Page     4  of  6
         Seller’s Designated Agent(s). Seller understands that the information which Seller provides to Seller’s Designated Agent(s) as
 178     marketing information will be used to advertise Seller’s Property to the public and submitted to the Multiple Listing Service. It is
 179     essential that this information be accurate and truthful. Seller agrees to comply with the provisions of the Illinois Residential Real
 180     Property Disclosure Act, the Illinois Radon Awareness Act and, if applicable, the Federal Lead Based Paint Disclosure Regulations.
 181     Seller shall complete the applicable disclosure document(s) in a timely manner, shall not knowingly provide false or inaccurate
 182     information therein, and shall comply with all local government ordinances. Although Seller is marketing Seller’s Property in its
 183     present physical condition, Seller understands that Seller may be held responsible by a buyer for any latent or hidden, undisclosed
 184     defects in the Property which are known to Seller but which are not disclosed to buyer. Seller shall indemnify, save, defend and hold
 185     Brokerage, Managing Broker, and Seller’s Designated Agent(s) harmless from all claims, disputes, litigation, judgments and/or costs
 186     (including reasonable attorney’s fees), whether or not frivolous, arising from any misrepresentations made by the Seller, from any
 187     incorrect information supplied by the Seller, or from any material fact concerning the Property including latent defects which the
 188     Seller fails to disclose. Further, Seller shall indemnify, save, defend, and hold Brokerage, Managing Broker, and Seller’s Designated
 189     Agent(s) harmless from any claim, loss, damage, or injury to any person or Property while viewing the Property arising from the condition of Seller’s
 190     Property.
 191     The current form residential sales contract contains the following representations to be made by Seller:
 192     Seller represents that with respect to the Real Estate, Seller has no knowledge of, nor has Seller received any written notice from
 193     any association or governmental entity regarding:
 194     a) zoning, building, fire or health code violations that have not been corrected;
 195     b) any pending rezoning;
 196     c) boundary line disputes;
 197     d) any pending condemnation or Eminent Domain proceeding;
 198     e) easements or claims of easements not shown on the public records;
 199     f) any hazardous waste on the Real Estate;
 200     g) real estate tax exemption(s) to which Seller is not lawfully entitled; or
 201     h) any improvements to the Real Estate for which the required initial and final permits were not obtained.
 202     Seller further represents that:
 203     (____ /____) [SELLER(S) INITIALS] There [CHECK ONE]  are  are not improvements to the Real Estate which are not included in full
 204     in the determination of the most recent tax assessment.
 205     (____ /____) [SELLER(S) INITIALS] There [CHECK ONE]  are  are not improvements to the Real Estate which are eligible for the home
 206     improvement tax exemption.
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         (____ /____) [SELLER(S) INITIALS] There [CHECK ONE]  is  is not an unconfirmed pending special assessment affecting the Real
         Estate by any association or governmental entity payable by Buyer after the date of Closing.
         (____ /____) [SELLER(S) INITIALS] The Real Estate [CHECK ONE]  is  is not located within a Special Assessment Area or Special
         Service Area, payments for which will not be the obligation of Seller after the year in which the Closing occurs.
 211     If the seller has any questions or concerns regarding the representation to be made in the sales contract, seller reserves the right to
 212     obtain legal advice.
 213     18. Limitations: The sole duty of the Brokerage is to effect a sale of the Property. The Brokerage, Managing Broker, Seller’s
 214     Designated Agent(s), members of the Multiple Listing Service(s) to which the Managing Broker belongs, and the Mainstreet
 215     Organization of REALTORS® are not charged with the custody of the Property, its management, maintenance, upkeep, or repair.
 216     Illinois law allows licensees to prepare the sales contract using approved preprinted forms, but does not allow licensees to draft other
 217     legal documents required to close the sale. Therefore, the Seller agrees to draft and furnish, or have Seller’s attorney draft and furnish
 218     all other legal documents necessary to close the sale.
 219     19. Minimum Services: Illinois Real Estate License Act of 2000, as amended provides that all exclusive brokerage agreements
 220     must specify that the sponsoring broker, through one or more sponsored licensees, must provide at a minimum, the following
 221     services: (1) accept delivery of and present to the client offers and counter-offers to buy, sell, or lease the client’s property or the
 222     property the client seeks to purchase or lease; (2) assist the client in developing, communicating, negotiating, and presenting
 223     offers, counter offers, and notices that relate to the offers and counteroffers until a lease or purchase agreement is signed and all
 224     contingencies are satisfied or waived; and (3) answer the client’s questions relating to the offers, counter-offers, notices, and contingencies.
 225     20. Marketing Authorization: Brokerage is authorized to advertise, promote, and market the Property which shall include, but not
 226     be limited to, in Managing Broker’s sole discretion, the display of signs, placement of the Property in any Multiple Listing Service
 227     in which Managing Broker is a participant, and promotion of the Property through any electronic medium and/or on any Internet
 228     Website to which the Brokerage, Managing Broker and/or Designated Agent(s) may subscribe. Brokerage is authorized to affix a
 229     keybox to the Property, and provided the owner is absent, any MLS participant or subscriber associated with the Multiple Listing
 230     Service(s), whether acting as a buyer’s representative or otherwise, shall have the right, through use of said keybox, to show the
 231     Property at any reasonable time. It is not a requirement of the Multiple Listing Service or Brokerage that a Seller allow use of a
 232     keybox. Seller acknowledges that neither listing nor selling brokerage, the Mainstreet Organization of REALTORS®, nor any
 233     Multiple Listing Service is an insurer against the loss of Seller’s personal property. Seller is advised to safeguard or remove valuables
 234     now located on said Property. Seller is further advised to verify the existence of said valuables and obtain personal property insurance
 235     through Seller’s insurance agent. Further, Seller hereby grants Brokerage and Brokerage shall have the right, and Seller
 236     acknowledges that Managing Broker may have an obligation under applicable Multiple Listing Service rules and regulations as a
                Managing Broker Initial                                                                               Seller Initial       Seller Initial
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 237         Caseof23-04789
         condition      placing Seller’sDoc   40-2in such
                                         Property        Filed   09/28/23
                                                            Multiple              Entered
                                                                      Listing Service,          09/28/23
                                                                                         to release            17:19:04
                                                                                                     information               DescofExhibit
                                                                                                                    as to the amount       selling price, type
 238                                                2  - Listing   Agreement            Page     5  of  6
         of financing, and number of days to sell the Property to any Multiple Listing Service of which Managing Broker is a participant at
 239     the time the Property is sold and closed.
 240     21. Taxes and Assessments: All taxes and all usually prorated expenses shall be prorated pursuant to the terms of the sales contract.
 241     Seller shall disclose any assessments or special taxes for improvements or lien for improvements, either of record or in process,
 242     applicable to the Property marketed herein, and should the Seller receive any notice thereof, Seller agrees to notify the Managing
 243     Broker or Designated Agent(s) immediately.
 244     a) SPECIAL ASSESSMENTS: Seller represents that there: [CHECK ONE]  is  is not a proposed or pending unconfirmed
 245        special assessment affecting the property not payable by Seller after the date of closing. Seller further represents that the following confirmed
 246        special assessments are not due or will be due after the date of closing: ----------           , 20 --
                                                                                                                ____ in the amount of $ ------------ .
 247     b) SPECIAL SERVICE AREA: Seller represents that the property: [CHECK ONE]  is  is not located within a Special Service
 248        Area, payments for which will not be the obligation of Seller after the date of Closing.
 249     c) CONDOMINIUM OR HOMEOWNERS’ ASSOCIATION(S): The property and improvements described herein [CHECK ONE]
 250         are  are not part of a Condominium or Homeowners’ Association. If the property is part of a Condominium or Homeowners’
 251        Association, the contact information for such association is:
 252               Association Name:                                                                            Phone Number:
 253               Management Company Name:                                                                     Phone Number:
 254     d) ASSOCIATION ASSESSMENTS/FEES: Seller acknowledges a current Condominium or Homeowners’ Association
 255               Assessment/Fee of $                           per                       which includes:
 256
 257     e) ADDITIONAL ASSOCIATION ASSESSMENTS/FEES: Seller further acknowledges additional assessments/fees (such as a
 258        Master Association Fee) of $ --------------- per ------------- which includes: -------------------------
 259     -------------------------------------------------------------------------------------------
 260     22. Earnest Money (choose one):
 261      (____/____)         (a) The Earnest Money shall be held by the Brokerage, as Escrowee in trust for
 262      [SELLER(S) INITIALS] the mutual benefit of the Buyer and Seller (hereinafter “Parties”) in a manner consistent
 263                           with Illinois State Law. Upon initial closing, or settlement, the Earnest Money shall be
 264                           applied first to the payment of any expenses incurred by the Brokerage on Seller’s behalf
 265                           in the sale, and second to payment of the Brokerage’s sales commission, rendering the
 266                           surplus, if any, to the Seller. If a dispute arises between the Parties to a real estate
 267
 268
 269
 270
                                    In Process
                               transaction as to whether a default has occurred, the Escrowee shall hold the Earnest
                               Money and implement the procedure for disbursement as agreed in writing by the Parties
                               in the real estate contract, or pay pursuant to subsequent joint written direction to
                               Escrowee, or as directed by a court of competent jurisdiction. Further, Seller agrees that
 271                           Escrowee may deposit the funds with the clerk of the Circuit Court by an action in the
 272                           nature of interpleader. Seller agrees Escrowee may be reimbursed from the Earnest
 273                           Money for all costs, including reasonable attorney’s fees, related to the filing of the
 274                           interpleader and hereby agrees to indemnify and hold Escrowee harmless from any and
 275                           all claims and demands, including the payment of reasonable attorney’s fees, costs, and
 276                           expenses arising out of such default, claims, and demands. If Seller defaults, Earnest
 277                           Money, at the option of Buyer, shall be refunded to Buyer, but such refunding shall not
 278                           release Seller from the obligation of this Marketing Agreement. Transfer of escrow money to
 279                           the closing agent for the transaction may be made no sooner than two (2) business days prior to the
 280                           scheduled closing date.
 281      (____/____)         (b) Brokerage maintains a policy of not holding earnest money or any moneys in
 282      [SELLER(S) INITIALS] escrow for any reason. At the written direction of the Parties to a real estate transaction,
 283                           Earnest Money deposited by a Buyer in the transaction shall be held in trust by an
 284                           Escrowee selected by Parties. Escrowee shall be duly licensed and authorized to hold
 285                           money in escrow for the mutual benefit of the Parties in a manner consistent with Illinois
 286                           Law. In that event, the terms of a written agreement between Escrowee and the Parties to
 287                           the real estate transaction shall control all issues regarding the holding and the
 288                           disbursement of Earnest Money. If Seller defaults, any refunding of the Earnest Money
 289                           to Buyer at Buyer’s direction shall not release Seller from the obligation of this Marketing
 290                           Agreement.
 291     23. Amendments: Should it be necessary to amend or modify this Agreement, facsimile or electronic signatures of all parties to
 292     this Marketing Agreement are accepted as original signatures. This Agreement may be executed in multiple copies and Seller’s
 293     signature hereon acknowledges that Seller has received a signed copy.
 294     24. Mediation: Any controversy or claim arising out of or relating to this Agreement or the breach thereof shall be mediated in
 295     accordance with rules then pertaining of the American Arbitration Association.
                Managing Broker Initial                                                                               Seller Initial       Seller Initial
         Address: 13890 Creek Crossing Dr, Orland Park IL 60467
         (Page 5 of 6 ) 6.2019 – © MAINSTREET ORGANIZATION OF REALTORS®
DocuSign Envelope ID: FE1D5D19-CF05-4069-9915-E8BD742D1462
                      124A9C2A-6BAE-43AE-964D-5A78C775ED2F
                      2D578236-0DBD-43DE-836D-C45A7A8AA85F
                      3371F645-FA40-4F8B-BEFE-97D0E03ACFEA
             Case 23-04789        Doc 40-2 Filed 09/28/23 Entered 09/28/23 17:19:04 Desc Exhibit
 296     25. Indemnification: Seller agrees to2indemnify
                                                 - ListingBrokerage,
                                                           Agreement        Page
                                                                     Managing     6 and
                                                                              Broker of 6Designated Agent(s) to save, defend, and hold
 297     them harmless on account of any and all loss, damage, cost, or expense (including reasonable attorney’s fees) incurred by them arising out of this
 298     Agreement, or in the collection of fees or commissions due Brokerage pursuant to this Agreement, provided Brokerage is not found to be at fault.
 299     26. Disclaimer: Seller acknowledges that Brokerage, Managing Broker and Seller’s Designated Agent(s) are acting solely as real
 300     estate professionals, and not as attorney, tax advisor, surveyor, structural engineer, home inspector, environmental consultant,
 301     architect, contractor, or other professional service provider. Seller understands that such other professional service providers are
 302     available to render advice or services to the Seller, if desired, at Seller’s expense.
 303     27. Costs of Third-Party Services or Products: Seller is responsible for the costs of all third-party products or services such as
 304     surveys, soil tests, title reports, well and septic tests, etc.
 305     28. Lease of Property: Although the purpose of this Agreement is to bring about a sale, option, or exchange of the Property, Seller
 306     agrees to pay Brokerage a leasing commission of $ -------------                      if the Property is leased within the marketing period. If the
 307     tenant to whom the Property is leased later purchases the Property, Seller agrees to pay Brokerage a sales commission of -------------          on
 308     the full sale price. If the property is to be marketed for lease, a separate exclusive listing agreement for lease will need to be agreed
 309     upon by the parties to this agreement.
 310     29. Severability: In case any one or more provisions of this Agreement shall, for any reason, be held to be invalid, illegal, or
 311     unenforceable in any respect, such invalidity, illegality, or unenforceability shall not affect any other provision hereof, and this
 312     Agreement shall be construed as if such invalid, illegal, or unenforceable provision had never been contained herein.
 313     30. Notice: All notices required shall be in writing and shall be served by one party to this agreement to the other party. Notice to
 314     any one of the multiple-person party shall be sufficient notice to all. Notice shall be given in the following manner:
 315     a) By personal delivery of such notice; or
 316     b) By mailing of such notice to the addresses recited herein by regular mail and by certified mail, return receipt requested. Except
 317        as otherwise provided herein, notice served by certified mail shall be effective on the date of mailing; or
 318     c) By sending facsimile transmission. Notice shall be effective as of date and time of facsimile transmission, provided that the notice
 319        transmitted shall be sent on business days during business hours (8:00 A.M. to 6:00 P.M. Chicago Time). In the event fax notice
 320        is transmitted during non-business hours, the effective date and time of notice is the first hour of the first business day after transmission; or
 321     d) By sending e-mail transmission. Notice shall be effective as of date and time of e-mail transmission, provided that the notice
 322        transmitted shall be sent on business days during business hours (8:00 A.M. to 6:00 P.M. Chicago Time), and provided further
 323        that the recipient provides written acknowledgment to the sender of receipt of the transmission (by e-mail, facsimile, or by
 324        regular mail). In the event e-mail notice is transmitted during non-business hours, the effective date and time of notice is the first
 325        hour of the first business day after transmission; or
 326
 327
 328
 329
                                    In Process
         e) By commercial overnight delivery (e.g., FedEx). Such Notice shall be effective on the next Business Day following deposit with
            the overnight delivery company.
         31. Entire Agreement: This Agreement constitutes the complete understanding and entire agreement between the parties relating
         to the subject thereof, and any prior agreements pertaining thereto, whether oral or written, have been merged and integrated into
 330     this Agreement. This Agreement may not be terminated or amended prior to its termination date without the express written
 331     consent of both parties to this Agreement.
 332     Seller hereby acknowledges receipt of a signed copy of this Agreement and all attachments. The attachments include the following
 333     [HERE LIST ALL ATTACHMENTS]: Standard Disclosures
 334                              [SIGNATURES REQUIRED OF ALL WHO HAVE A LEGAL OR EQUITABLE INTEREST IN THE PROPERTY.]
 335     Infiniti Proeprties Inc/ mark McGee
 336     MANAGING BROKER [PRINT]                                                          SELLER [SIGNATURE]
 337
 338     MANAGING BROKER [SIGNATURE]                                                      SELLER [SIGNATURE]
                   07/10/2023                                                              13890 Creek Crossing DR. Orland Park.IL.60467
 339
 340     DATE                                                                             CURRENT MAILING ADDRESS [REQUIRED]
 341
 342     DESIGNATED AGENT [SIGNATURE]                                                      07/10/2023
 343            07/10/2023
 344     DATE                                                                             DATE
 345     9566 W 147th St
 346     OFFICE ADDRESS
 347     Orland Park IL                              60462
 348                                                                                      PHONE                              FAX
 349     708-743-3439
 350     DESIGNATED AGENT PHONE                  FAX                                      E-MAIL ADDRESS
 351     708-206-3000                                                                               FOR INFORMATION ONLY:
 352     OFFICE PHONE
 353     soldbygail@live.com
 354     E-MAIL ADDRESS                                                                   SELLER’S ATTORNEY NAME
 355
 356                                                                                      PHONE/E-MAIL ADDRESS
                Managing Broker Initial                                                                     Seller Initial                 Seller Initial
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